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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,
                                                     CASE NO. 6:18-CV-1836-ORL-28 GJK
v.

ADVOCATE LAW GROUPS OF
FLORIDA, P.A., JON LINDEMAN, JR.,
and EPHIGENIA K. LINDEMAN,

      Defendants.
___________________________________/

     DEFENDANTS ADVOCATE LAW GROUPS OF FLORIDA, P.A., JON LINDEMAN,
      JR., AND EPHIGENIA K. LINDEMAN’S MOTION TO DISMISS PURSUANT TO
       FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6) AND MOTION FOR MORE
                 DEFINITE STATEMENT PURSUANT TO RULE 12(e)

        Defendants, ADVOCATE LAW GROUPS OF FLORIDA, P.A (“ALG”), JON

LINDEMAN, JR. (“Mr. Lindeman”), and EPHIGENIA K. LINDEMAN (“Ms. Lindeman”)

(collectively “Defendants”), by and through their undersigned counsel and pursuant to Federal

Rule of Civil Procedure 12(b)(6), move to dismiss plaintiff, UNITED STATES OF AMERICA’s

(“United States” or “Plaintiff”) Complaint and Demand for Jury Trial (the “Complaint”), for

failure to state a claim upon which relief can be granted. Additionally, Defendants move for a more

definite statement pursuant to Rule 12(e). In support, Defendants state as follows:

                                   I.      INTRODUCTION

        This action by the United States is an attempt to use the Fair Housing Act, 42 U.S.C. §§

3601-3619 (“FHA”), to support a claim that is not within the confines or jurisdiction of that act.

The mandate of the FHA is to unquestionably prohibit discrimination that arises from the buying

and renting of real property. This case involves neither such a transaction. Here, ALG, which

employs Mr. Lindeman and Ms. Lindeman, is a law firm focusing on foreclosure defense and loan


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modification negotiation. Defendants are not the property owner, landlord, bank, or mortgage

lender for any residential real property involved in this case. Plaintiff fails to reference any alleged

role ALG played in the acquisition of housing, nor can it. ALG’s representation of the

Complainants performing attorney-client functions is simply not actionable under the FHA.

        Further, had the legal representation provided to the Complainants been within the purview

of the FHA’s administrative authority (which it did not), Plaintiff still fails to state a cause of

actionable discrimination under its jurisdiction. Plaintiff does not allege Defendants treated

Hispanics less favorably than non-Hispanics, which is the requisite umbra of this cause of action.

Rather, Plaintiff merely alleges that services provided by ALS were performed inadequately.

Thus, to the extent the underlying Complainants may have any claim against Defendants, such

claim would sound solely in a legal malpractice action – not an FHA discrimination case.

        For these reasons, and those further set forth herein, the Complaint must be dismissed.

                        II.     ALLEGATIONS IN THE COMPLAINT

                                                Parties

        1.      ALG is, and was at all times material hereto, a law firm providing its clients with

assistance in foreclosure defense, and mortgage loan modification negotiation services. See

Compl. ¶ 8. ALG is a Florida Corporation with its principal place of business in Miami Lakes,

Florida. Id. From 2009 to 2015 ALG maintained offices in the counties and cities of Broward,

Miami-Dade, Palm Beach, Naples, Orlando, Tampa, Bonita Springs, and Jacksonville Florida. Id.

        2.      Mr. Lindeman is a licensed Florida Attorney, and general managing partner and

President of ALG. See id. at ¶ 9. In this capacity, Mr. Lindeman is alleged to have overseen,

supervised, directed, and/or controlled the activities of ALG. Id.

        3.      Ms. Lindeman, Mr. Lindeman’s spouse, is alleged to have served as the Director of

Operations of ALG from 2008-2009 and acted as ALG’s Director of Marketing, and Chief


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Mortgage Investigator and Auditor. Id. at ¶ 10. Pursuant to these positions, Ms. Lindeman is

alleged to have “oversaw, supervised, directed, or controlled ALG’s day-to-day operations relating

to mortgage modification and foreclosure rescue services, including collections and

communications with mortgage lenders on behalf of ALG’s clients.” Id.

                                        Nature of the Action

       4.      The United States brought this action against Defendants for alleged violations of

the Fair Housing Act, 42 U.S.C. §§ 3601-3619 (“FHA”). Id. ¶ 1.

       5.      ALG’s representation of three Hispanic and native Spanish-speaking groups of

Complainants to wit: Lucia Hurtado (“Hurtado”), Daniel Roman, Jr. and Dariel Roman

(collectively “Roman”), and Argentina Roque (“Roque”) (collectively the “Complainants”) serve

as the basis of the Plaintiff’s allegations of FHA violations. See id. ¶¶ 5-7.

       6.      Plaintiff asserts Defendants “targeted Complainants and other homeowners because

of their Hispanic national origin for a scheme involving unfair and predatory loan modification

and foreclosure rescue services.” Id. at ¶ 11. Further, the Complaint alleges Defendants used a

business model that targeted Hispanic homeowners with Spanish-language advertising that falsely

promised, among other things, to reduce their then current mortgage payments. Id. at ¶ 12.

Ultimately, the Complaint alleges Complainants did not obtain the loan modifications or other

services that were advertised. Id.

       7.      Complainants claimed to have learned of ALG’s services through either Spanish

language radio and/or Spanish language television. See id. at ¶¶ 26, 42, 64. Further claiming they

acted in reliance on these advertisements, Complainants retained ALG allegedly only to seek loan

modification assistance from Defendants. See id. at ¶¶ 27, 43, 65.

       8.      The Complaint alleges that in each of the three cases asserted, Complainants first

met with a representative of ALG, before retaining ALG, where all conversations held were


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conducted in Spanish. See id. Both Hurtado and Roman allegedly signed a retainer agreement

written almost entirely in English. See id. at ¶¶ 28, 47. In Roque, there is no such retainer agreement

allegation. See id. at ¶ 62-80.

        9.      Although it is alleged Complainants were native Spanish-speakers and had limited

English proficiency, the Complaint does not allege Complainants were either incapable or did not

understand the content of the retainer agreements. See id. at ¶¶ 5-7.

        10.     Plaintiff alleges Complainants were charged upfront monthly fees for, what they

contend, were unfair terms for loan modification representation, in exchange for, what they

believed, was the limited value of Defendants’ services. See id. at ¶ 21.

        11.     In each case, Complainants were allegedly informed by ALG or its representative

to stop making mortgage payments and communicating with their mortgage servicer after retaining

ALG. See id. at ¶¶ 29, 45, 66. However, Plaintiff does not allege that these instructions were

different than those given to non-Hispanics. See id. at ¶ 12 (“Defendants knowingly placed their

clients’ homes at risk of foreclosure by instructing Complainants and other clients to stop making

monthly mortgage payments and to stop communications with their lenders.”) (emphasis added).

        12.     Further it is alleged Complainants were provided with a package of documents sent

to their respective banks, by ALG on their behalves. See id. at ¶¶ 32, 49, 68. The packages are

alleged to have contained documents seeking remedies not sought by the Complainants, and

statements regarding mortgage audits that were allegedly found to never exist. See id at ¶¶ 32-33,

49-50, 68-69. Lastly, the Complaint alleges that the documents purportedly sent to the banks were

never actually sent. Id. at ¶ 34, 51, 70.

        13.     Ultimately, Hurtado allegedly sold her property in a short sale, Id. at ¶ 39, Roman’s

home was allegedly sold at a foreclosure sale, Id. at ¶ 56, and Roque allegedly received a loan

modification with assistance from a non-profit. Id. at ¶ 79.


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                                            Claims alleged

        14.     The Complaint asserts two Counts.

        15.     Count I combines four separate and distinct causes of action: (1) 42 U.S.C. §

3604(a) (discrimination in the sale or rental of residential real property); (2) 42 U.S.C. § 3604(b)

(discrimination in the provision of services); (3) 42 U.S.C. § 3605 (discrimination by a person or

entity engaged in residential real estate related transactions); and (4) 42 U.S.C. § 3617 (retaliation

under the FHA. See id. at ¶ 90.

        16.     Count II asserts a claim under 42 U.S.C. § 3614(a) based on an alleged “pattern or

practice of resistance to the full enjoyment of rights” guaranteed by the FHA. See id. at ¶ 94.

                                III.    MEMORANDUM OF LAW

        The Complaint should be dismissed for the following reasons: (1) 42 U.S.C. §§ 3604 and

3605 do not apply to Defendants because Defendants did not participate in the buying, selling, or

residential real-estate transactions concerning the Complainants; (2) the retaliation claim fails

because Complainants did not engage in any statutorily protected activity, and there is no nexus

between any adverse action and any protected activity; (3) Count II does not state an independent

cause of action under 42 U.S.C § 3614; (4) Plaintiff – the United States – fails to allege sufficient

facts to establish a pattern or practice, which is necessary in order for the United States to bring

this Action in a representative capacity; and (5) Plaintiff fails to state a claim for injunctive relief.

        Lastly, to the extent any claims survive this Motion to Dismiss, Plaintiff should have to

plead a more definite statement by pleading each claim in a separate count with greater specificity.

        A.      MOTION TO DISMISS STANDARD

        Under the Federal Rules of Civil Procedure, a complaint must contain "a short and plain

statement of the claim showing that the pleader is entitled to relief." Fed.R.Civ.P. 8(a)(2). A

pleading has to contain more than "labels and conclusions," and "formulaic recitation of the


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elements of a cause of action will not do." Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555

(2007). To survive a defendant's motion to dismiss, a complaint must include "enough facts to

state a claim to relief that is plausible on its face." Id. at 570. A claim is plausible on its face "when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A

mere "the defendant-unlawfully- harmed-me accusation" will not suffice. Id. Legal conclusions

not supported by factual allegations "are not entitled to the assumption of truth." Id. at 679.

        A complaint that does not comport with the pleading requirements may be attacked by a

Rule 12(b)(6) motion to dismiss. Twombly, 550 U.S. at 555. To survive the motion, a complaint

must set forth factual allegations in a manner that does not merely mirror the elements of a claim

and suggest that a claim for relief is plausible. Luke v. Residential Elevators, Inc., 2011 WL

311370, at *2 (N.D. Fla. 2011).

        B.      42 U.S.C. §§ 3604 AND 3605 DO NOT APPLY BECAUSE DEFENDANTS
                WERE NOT ENGAGED IN THE SELLING OR RENTING OF
                RESIDENTIAL REAL ESTATE, OR ANY REAL ESTATE-RELATED
                TRANSACTION, CONCERNING THE COMPLAINANTS.

        42 U.S.C. §§ 3604 and 3605 do not apply here. Plaintiff’s claims under § 3604 must

be dismissed because there are no allegations Defendants were involved with the selling or

rental of any residential properties underlying this suit. Further, the “provision of services”

language contained in § 3604(b) does not include the provision of legal services incident to the

selling or renting of real estate. Likewise, Plaintiff’s claim under 42 U.S.C. § 3605 does not

apply because Defendants did not engage in residential real estate-related transactions.

                1. Plaintiff’s Claims under 42 U.S.C. § 3604 Fail to State a Cause of Action
                   because there are No Allegations Defendants were Involved with the
                   Selling or Rental of the Real Properties Underlying this Suit.

        Plaintiff brings claims under 42 U.S.C. §§ 3604(a) and 3604(b). Neither claim states a

cause of action under the facts alleged here.

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        42 U.S.C. § 3604(a) provides, in pertinent part, that it shall be unlawful to “[t]o refuse to

sell or rent after the making of a bona fide offer, or refuse to negotiate for the sale or rental of, or

otherwise make unavailable or deny, a dwelling to any person because of . . or national origin.”

Id. (emphasis added). Similarly, 42 U.S.C. § 3604(b) prohibits discrimination “against any person

in the terms, conditions, or privileges of sale or rental of a dwelling, or in the provision of services

or facilities in connection therewith, because of . . . national origin.” Id. (emphasis added.). The

Complaint lacks any allegation that Defendants were involved in the sale or rental of the

Complainant’s respective homes. Further, Courts have rejected finding that the phrases “otherwise

make unavailable or deny” and “in the provision of services” contained in 3604(a) and (b) as to be

so broad as to include the claims Plaintiff asserts in this case.

                        a. § 3604(a) only applies to buying and renting of residential property.

        To state a claim under § 3604(a) a plaintiff must allege “unequal treatment on the basis of

race (or place of National origin) that affects the availability of housing.” Hallmark Developers,

Inc. v. Fulton County, 466 F.3d 1276, 1283 (11th Cir. 2006); Jackson v. Okaloosa County, 21 F.3d

1531, 1543 (11th Cir. 1994).

        The Eleventh Circuit unmistakably interprets Section 3604(a) to only apply to

discrimination related to the acquisition or sale and rental of property. See Jackson, 21 F.3d at

1542 n. 17 (“Courts have construed the phrase ‘otherwise make unavailable or deny’ in subsection

(a) [of 42 U.S.C. § 3604] to encompass actions by individuals or government units that affect the

availability of housing to minorities.”) (emphasis added); Gourlay v. Forest Lake Estates Civil

Ass’n of Port Richey, Inc., 276 F. Supp. 2d 1222 (M.D. Fla. 2003), vacated due to settlement, (§

3604 did not apply to homeowner’s claim against parents of children for complaints of enjoyment

of land where parents had purchased the house prior to fostering children); Lawrence v. Courtyards

at Deerwood Ass’n, 318 F. Supp. 2d 1133, 1142 (S.D. Fla. 2004) (“as the statutory language makes


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clear, and as recognized in Gourlay section 3604 only applies to discrimination related to the

acquisition or sale and rental of housing.”); United States v. Hous. Auth. of Chickasaw, 504 F.

Supp. 716, 727 (S.D. Ala. 1980) (the phrase “otherwise make unavailable or deny” in Section

3604(a) “is as broad as Congress could have made it and it reaches every private and public

practice that makes housing more difficult to obtain on prohibited grounds.”) (emphasis added).

         The Eleventh Circuit, in Jackson, further cited examples of the applicability of Section

3604(a), all of which concern exclusively the acquisition of housing:

         Halet v. Wend Investment Co., 672 F.2d 1305 (9th Cir.1982) (discriminatory rental
         decisions); United States v. City of Parma, 661 F.2d 562 (6th Cir.1981) (numerous
         actions by city evidenced discrimination, including rejection of public and low-
         income housing and adoption of restrictive land use ordinances); United States v.
         Mitchell, 580 F.2d 789 (5th Cir.1978) (racial steering); United States v. City of
         Black Jack, 508 F.2d 1179 (8th Cir.1974) (adoption of restrictive zoning law);
         Smith v. Town of Clarkton, 682 F.2d 1055 (4th Cir.1982) (town withdrawal from
         multi-municipality housing authority); N.A.A.C.P. v. American Family Mut. Ins.
         Co., 978 F.2d 287 (7th Cir.1992) (insurance redlining). Given the broad application
         of § 3604(a) to practices that affect the housing market for minorities, we do not
         hesitate to apply the provision to the instant case, even though the facility will
         eventually be "available" at some location.

Jackson, 21 F.3d at 1543 n. 17. (emphasis added). Further, discriminatory acts that occur after the

sale of a home occurs are not actionable under the FHA.1 Whyte v. Alston Mgmt., No. 10-81041-

CIV-DIMITROULEAS/Snow, 2011 U.S. Dist. LEXIS 158389 (S.D. Fla. Nov. 1, 2011).

         In this case, 42 U.S.C. § 3604(a) does not apply to Defendants and their relationship to the

Complainants. ALG is a law firm with Mr. Lindeman being the general managing partner and

President of ALG, and Ms. Lindeman being the Director of Operations, Director of Marketing,

and Chief Mortgage Investigator and Auditor. See Compl. ¶¶ 8-10. As set forth in both Lawrence

and Gourlay, Section 3604(a) only applies to discrimination related to the acquisition or sale of


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  In Whyte, the court clarified the difference between buying and renting. The court acknowledged that a renter has
an ongoing relationship with his landlord, and thus the landlord can still exercise power over the tenant, i.e. raising
rent or evicting the tenant. Thus, evictions are still protected by 42 U.S.C. § 3604 even though they are not typically
related to the acquisition of property.


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housing. Defendants are not alleged to have provided either of those services to Complainants.

Instead, it is alleged Defendants provided services relating to foreclosure defense and attempted

loan modification negotiations. See generally id. at ¶ 8. Defendants were not the property owners,

nor did they have any land rights to transfer to Complainants. Therefore, unlike a property seller

or a residential landlord (in a rental relationship), Defendants maintained no power over the

Complainants, or any power to impact Complainants’ purchase or rental of real estate they already

possessed. In the context of the relationship between a lawyer and its client, a dissatisfied client

could simply fire the lawyer and hire another. While it is alleged Defendants represented

Complainants in loan modification negotiations and foreclosure proceedings, the lenders

ultimately held the power to agree to the modification or to foreclose – not the Defendants.2

         Therefore, § 3604(a) does not apply to Defendants, and Plaintiff’s claim must be dismissed.

                           b. Failure to state a claim under Section 3604(b) for denial of services.

         Plaintiff fails to plead sufficient facts to support a prima facie claim of housing

discrimination under 42 U.S.C. § 3604(b) for denial of services.

         “To establish a prima facie case for denial of services, [p]laintiffs must show that they: (1)

are members of a protected class; (2) qualified to receive the services in question; (3) were denied

or delayed services by [d]efendants; (4) and [d]efendants treated similarly situated persons outside

of the protected class more favorably.” Jackson v. Comberg, No. 8:05-cv-1713-T-24TMAP, 2006

U.S. Dist. LEXIS 66405 (M.D. Fla. Aug. 22, 2006) (citing Boykin v. Bank of America, 162 Fed.

Appx. 837, 839 (11th Cir. 2005); Krieman v. Crystal Lake Apts. L.P., 2006 U.S. Dist. LEXIS

35379 (N.D. Ill. 2006)).




2 Notably, Section 501.1377 of the Florida Statutes (Florida’s Foreclosure Rescue Statute), which parallels the FHA
in many respects, provides an express exemption for, “[a]n attorney licensed to practice law in this state who provides
foreclosure rescue-related services as an ancillary matter to the attorney’s representation of a homeowner as a client.”
See Fla. Stat. § 501.1377(1), (2)(b)(7).

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       Plaintiff has not pled sufficient facts to state a denial of services of claim under the second,

third and fourth elements. The services alleged to have been provided by Defendants do not fall

under the types of services recognized as actionable under the FHA. Further, even if such services

were covered by § 3604(b), there are no allegations Defendants treated any similarly situated

persons outside of the protected class of the Complainants more favorably.

                       i. Plaintiff fails to plead sufficient facts necessary to state a claim under
                          the second and third elements.

       Plaintiff improperly attempts to improperly extend the reach of the FHA’s regulatory

mandate to legal services provided by Defendants to the Complainants. Such an interpretation is

not in conformity with the types of services covered by the statute.

       The phrase “provisions of services” has been interpreted in the Fifth and DC Circuits, as

well as District courts in the Eleventh Circuit, as including those services directly connected with

the sale or rental of a property. Steele v. City of Port Wentworth, No. CV405-135, 2008 U.S. Dist.

LEXIS 20637, at *35-37 (citing Cox v. City of Dallas, 430 F.3d 734, 746 (5th Cir. 2005)); see also

Clifton Terrace Assoc, Ltd. v. United Tech. Corp., 929 F.2d 714, 719 (D.C. Cir. 1991) (“The Fifth

Circuit and D.C. Circuit, however, have limited the scope of § 3604(b) to services provided in

connection with the sale or rental of housing. . . . This Court agrees that a limited interpretation is

more consistent with the plain language of the statute, which refers to services in connection with

a sale or rental.”) (emphasis added); Gourlay, 276 F. Supp. 2d at 1233 (“The context of the use

of the phrase ‘in connection therewith’ clearly limits claims for discriminatory provision of

services to the provision of those services in connection with a sale, because the preceding sentence

mentions only the sale or rental of a dwelling.”); Lawrence, 318 F. Supp. 2d at 1141-43 (limiting

§ 3604(b) to “services” relating to the purchase or rental of property).

       Plaintiff fails to allege a claim pursuant to § 3604(b) for denial of services because it does

not allege Defendants played any role connected to the sale or rental of residential real property to

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the Complainants. Similar to the § 3604(a) analysis, Defendants do not rent or sell property. ALG

is a law firm that assists individuals with loan modification negotiations with their lenders and

defends actions for foreclosure. Plaintiff does not allege Defendants played any role in services

related to the acquisition of housing. Instead, Plaintiff’s only allege that Defendant’s provided

insufficient representation. These allegations are insufficient for a claim under Section 3604(b).

As stated in Steele and Gourlay, the services provided by Defendants must be limited to the sale

or rental of a dwelling. Thus, Plaintiff fails to state a claim for a violation of § 3604(b).

                             ii. Plaintiff fails to plead sufficient facts necessary to state a claim
                                 under the fourth element.

          In order to state a cause of action for discrimination based on a denial of services under §

3604(b), it must be alleged that in denying or delaying services, Defendants treated similarly

situated persons outside of the Complainants’ protected class more favorably. The Complaint is

devoid of any such allegations.

          In order to prevail under the FHA, a plaintiff must establish that race, color, creed, or place

of national origin played some role in the actions of the defendant who was engaged in the sale or

rental of real estate. See Sofarelli v. Pinellas Cty., 931 F.2d 718 (11th Cir. 1991) (citing United

States v. Mitchell, 580 F.2d 789, 791-92 (5th Cir.1978)). “Unequal treatment ‘based on race’ in

this paradigm can be established by showing intentional discrimination or discriminatory impact.”

Reese v. Miami-Dade County, No. 01-3766-CIV-HURLEY, 2009 U.S. Dist. LEXIS 105333, at

*28 (S.D. Fla. Nov. 10, 2009) (citing Schwarz v City of Treasure Island, 544 F.3d 1201 (11th Cir.

2008)).

                           Insufficient Allegations of Disparate Treatment

          To bring a claim for disparate treatment under the FHA, a plaintiff must allege he was

treated differently based on his national origin. See Hous. Opps. Project for Excellence, Inc. v. Key

Colony No. 4 Condo. Assoc., 510 F. Supp. 2d 1003 (S.D. Fla. 2007) (citing Lynn v. Village of

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Pomona, 373 F. Supp. 2d 418, 429 (S.D.N.Y. 2005)). Further, “to prove intentional discrimination,

the plaintiff has the burden of showing that the defendant acted intentionally, or was improperly

motived in its decision to discriminate against persons protected by the FHA.” Bonasera v City of

Norcross, 342 Fed. Appx. 581 (11th Cir. 2009) (unpub). “This can be accomplished with evidence

that the decision making body acted for the sole purpose of effecting the desires of private citizens,

that racial considerations were a motivating factor behind those desires, and that members of the

decision making body were aware of the motivations of the private citizens.” Reese v. Miami-Dade

County, No. 01-3766-CIV-HURLEY, 2009 U.S. Dist. LEXIS 105333, at *30 (S.D. Fla. Nov. 10,

2009); Hallmark Developers, Inc. v Fulton County, Ga., 466 F.3d 1276 (11th Cir. 2006).

       Plaintiff fails to allege Defendants acted intentionally or were improperly motivated in their

decisions to discriminate against persons protected by the FHA. While Plaintiff alleges

“Defendants . . . deliberately targeted Complainants and other homeowners because of their

Hispanic national Origin for a scheme involving unfair predatory loan modifications and

foreclosure rescue services[,]” Compl. ¶ 11, this allegation does not rise to the level of intentional

discrimination. The Complaint does not allege the treatment provided to Complainants was less

favorable than treatment provided by Defendants to non-Hispanics. Plaintiff attempts to suggest

that Defendants’ advertisement on Spanish-language radio stations, and television advertisements,

coupled with English retainer agreements, means Defendants discriminated against Hispanics.

While the allegations infer advertisements may have reached a predominately Spanish-speaking

audience, the Complaint does not allege that services provided by Defendants were less favorable

than those provided to non-Hispanic clients of ALG for the same services. In fact, the Complaint

acknowledges that while a majority of media advertising was placed in predominately Spanish-

language outlets, Defendants’ media buys were also placed on bi-lingual and English radio.

Television advertising purchased by ALG was also done on an English Language Station. Id. at ¶¶


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13-14. The Complaint is devoid of allegations that as a result of advertising placement, Defendants

treated non-Hispanic clients more favorably than Hispanic clients in procurement of services.

       Plaintiff has not sufficiently alleged discriminatory intent.

                           Insufficient Allegations of Disparate Impact

       To state a claim for disparate impact, a plaintiff must allege "that a specific policy caused

a significant disparate effect on a protected group." Hous. Opps. Project for Excellence, Inc. v.

Key Colony No. 4 Condo. Assoc., 510 F. Supp. 2d 1003 (S.D. Fla. 2007) (citing Mountain Side

Mobile Estates P'ship v. Sec'y of Hous. and Urban Dev., 56 F.3d 1243, 1251 (10th Cir. 1995)). It

is “sufficient for plaintiff to demonstrate that the challenged action results in, or can be predicted

to result in, a disparate impact upon a protected class compared to the relevant population as a

whole.” Reese v. Miami-Dade County, No. 01-3766-CIV-HURLEY, 2009 U.S. Dist. LEXIS

105333, at *28 (S.D. Fla. Nov. 10, 2009) (citing Bonasera v City of Norcross, 342 Fed. App’x 581

(11th Cir. 2009) and Oti Kaga, Inc. v. South Dakota Housing Development Authority, 342 F.3D

871, 883 (8th Cir. 2003). F.3d 871, 883 (8th Cir. 2003)). “A plaintiff can show discriminatory effect

in two ways -- first, by showing that the decision has a desgregative effect, and second, by showing

that the decision makes housing options significantly more restricted for members of a protected

group than for persons outside that group.” Id.

       Plaintiff fails to allege discrimination by disparate impact. Plaintiff does not allege a

difference in treatment between Hispanics and non-Hispanics. To the extent Plaintiff attempts to

suggest that advertising on Spanish-language radio and television stations can be predicted to have

a disparate impact on Hispanics, such an argument would be belied by the Complaint which

acknowledges that advertisements were not solely on Spanish-language communications. See

Compl. ¶ 13 (noting there were bilingual and non-Spanish advertisements).The Complaint is

devoid of any allegations that information provided on non-Spanish communications were


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different (or included more favorable terms) than the information provided through Spanish-

language communications. Further, Plaintiff does not allege Claimants received any services

which were different or lesser than the services provided to non-Hispanic clients.

       Therefore, because there are no allegations which give rise to disparate impact, Plaintiff’s

claim for a violation of § 3604(b) must be dismissed.

               2. Plaintiff Fails to state a claim under § 3605 because Defendants did not
                  Engage in Residential Real Estate-Related Transactions.

       To establish a prima facie case of discrimination under § 3605, the plaintiff must

demonstrate that (1) he is a member of a protected class; (2) he attempted to engage in a “real

estate-related transaction” with the defendant; (3) defendant engaged in the transaction despite

plaintiff’s qualification; and (4) defendant’s continued to engage in that type of transaction with

other parties outside of the plaintiff’s class with similar qualifications. Molina v. Aurora Loan

Servs., LLC, 635 Fed. Appx. 618, 625 (11th Cir. 2015).

       In reference to the second element, the FHA prohibits “any person or other entity whose

business includes engaging in residential real estate-related transactions to discriminate against

any person in making available such a transaction, or in the terms or conditions of such a

transaction, because of race, color, religion, sex, handicap, familial status, or national origin.” 42

U.S.C. § 3605(a). The Statute further defines “residential real estate-related transactions” as: (1)

“the making or purchasing of loans or providing other financial assistance[;]” and (2) “the selling,

brokering, or appraising of residential real property.” 42 U.S.C. § 3605(b).

       Failing to allege a defendant has engaged in one of the statutory categories provided by §

3605 is grounds for dismissal. A law firm, like ALG, that is alleged to engage in foreclosure

defense and loan modification negotiations falls outside the statutory definition of a “residential

real-estate related transaction.” Beard v. Worldwide Mortgage Corporation, 354 F. Supp. 2d 789

(W.D. Tenn. 2005), a case from the United States District Court for the Western District of

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Tennessee, is instructive. In Beard, the plaintiff, an African-American, alleged that a title company

and its principal “engaged in conduct which constituted predatory lending practices and a

predatory lending scheme.” Id. at 794. The plaintiff alleged the defendants “fraudulent loan

practices” were “designed to take away their homes.” Id. at 808. The plaintiff heard radio

advertisements from a co-defendant, Worldwide Mortgage Corporation (“Worldwide”) “claiming

individuals could get "easy money," have "cash in [their] pocket[s] for Christmas," consolidate

bills, and have home improvement work done on their homes.” Id. at 794-95. After discussions

with Worldwide, the plaintiff decided to refinance her existing home. Id. at 795. The title company

defendant neither participated in or conducted the closing, nor was it present to witness plaintiff

sign any of the documents at the closing. Id. at 795-96. The plaintiff filed suit alleging, inter alia,

the title company violated 42 U.S.C. § 3605 because “acted as the settlement agent for the loan

transaction.” The title company and its principal moved to dismiss the claim. The court, in

analyzing Section 3605, concluded that a defendant “must be engaged in the business of residential

real estate transactions” which are limited to “1) making loans, 2) purchasing loans, 3) providing

financial assistance, 4) selling residential real property, 5) brokering residential real property, or

5) appraising residential real property.” See id. at 809. The court dismissed plaintiff’s claim under

42 U.S.C. § 3605 because although the plaintiff alleges that the defendants “acted as the settlement

agent for the loan transaction,” plaintiff “did not allege that the title company engaged in the

business of residential real estate transaction as defined by § 3605.” Id. at 809.

       Similarly, § 3605 does not apply here because Defendants are not alleged to have been

involved in business “engaging in residential real estate transaction” as defined by the statute. As

set forth in § 3605(b), a “real estate-related transaction” consists of either providing financial

assistance or the brokering, appraising or selling real property. None of these apply in this case.

ALG, and by extension Mr. Lindeman and Ms. Lindeman, are alleged to be acting in the capacity


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of a law firm. Defendants are not alleged to have provided financial assistance to the Complainants,

nor is it alleged that Defendants sold, appraised or brokered real estate to the Complainants.

       Defendants representation of Complainants in foreclosure proceedings and negotiations for

loan modifications are not covered transactions under 42 U.S.C. § 3605, and therefore the claim

for violating § 3605 contained in Count I should be dismissed.

       C.      PLAINTIFF FAILS TO ALLEGE A CAUSE OF ACTION FOR
               RETALIATION UNDER 42 U.S.C. § 3617.

        Count I fails to state a cause of action for retaliation under § 3617 because Plaintiff does

not allege Complainants engaged in a protected activity or suffered adverse action by Defendants.

       42 U.S.C. § 3617 provides a cause of action for retaliation under the FHA. See Hill v. Impro

Synergies LLC, No. 1:15cv101-MW/GRJ, 2015 U.S. Dist. LEXIS 175724, at *9 (N.D. Fla. Nov.

25, 2015). 42 U.S.C. § 3617 states: “[i]t shall be unlawful to coerce, intimidate, threaten, or

interfere with any person in the exercise or enjoyment of, or on account of his having exercised or

enjoyed, or on account of his having aided or encouraged any other person in the exercise or

enjoyment of, any right granted or protected by section 803, 804, 805, or 806.”

       For retaliation pursuant to the FHA, a plaintiff must show: “(1) he engaged in protected

activity; (2) defendant subjected him to adverse action; (3) a causal link exists between protected

activity and the adverse reaction.” Philippeaux v. Apartment Inv. & Mgmt. Co., 598 F. App'x 640

(11th Cir. 2015) (citing Walker v. City of Lakewood, 272 F.3d 1114, 1128 (9th Cir. 2001)).

       Plaintiff fails to state a cause of action for retaliation under all three elements.

               1. Failure to Plead Claimants Engaged in Statutorily Protected Activity.

       As to the first element, “[a] plaintiff engages in statutorily protected activity when he or

she protests . . . conduct which is actually lawful, so long as he or she demonstrates a good faith

reasonable belief that the conduct engaged in was . . . lawful.” Id. at 645 (citing Harper v.



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Blockbuster Entm’t Corp., 139 F.3d 1385, 1388 (11th Cir. 1998)) (acknowledging that a claim for

retaliation in an FHA case uses the same framework as a Title VII case). Stated another way:

       [t]he test for sufficiency of a claim under § 3617 requires the complaint to allege
       the following: (1) the Hispanic individuals are members of a protected class under
       the Fair Housing Act; (2) the individuals on whose behalf this suit is brought
       exercised or enjoyed a right protected by §§ 3603-3606, or aided or encouraged
       others in exercising or enjoying such rights; (3) the Defendants' conduct was at least
       in part intentional discrimination; and (4) the Defendants' conduct constituted
       coercion, intimidation, threat, or interference on account of having exercised, or
       aided or encouraged others in exercising, a right protected under §§ 3603-3606.

United States v. Sea Winds, 893 F. Supp. 1051 (M.D. Fla. 1995).

       Plaintiff fails to state a claim under § 3617 because there are no allegations supporting the

first element. Plaintiff does not allege Complainants participated in protected activity. There are

no allegations Complainants’ complained of Defendants to HUD during the time Defendants’

represented Complainants. Compare Compl. ¶¶ 24-80 (Complainants received services prior to

2015), with Id. at ¶ 84 (stating “on September 6, 2018, the Secretary issued a Charge of

Discrimination . . . against Defendants” and not specifying when the HUD complaint was filed).

       For this reason, the claim for retaliation under § 3617 must be dismissed.

               2. Failure to Plead any Adverse Action or Causal Link

       There are no allegations Claimants suffered adverse action by Defendants as a result of

engaging in a protected activity. It is alleged Defendants provided services relating to foreclosure

defense and loan modification negotiations. See generally id. at ¶ 8. There is no allegation

suggesting (nor can there be) Defendants refused to provide Claimants with a loan, refused to sell

Claimants a home, or Defendants discriminated against Claimants in home rental practices. While

Plaintiff alleges in a conclusory fashion that Defendants interfered with the abilities of

Complainant’s to maintain their homes, Id. at ¶ 22, Plaintiff does not allege this interference, or

any other negative experience suffered by Complainants, was due to Complainants’ engagement

in protected activity. Complainants simply argue Defendants were unsuccessful in obtaining loan

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modifications or stopping, in one case, a foreclosure. Failure to succeed is not an adverse action

based on discrimination, it is simply that Defendants were not able to win.

        As a result, Plaintiff does not state a claim for retaliation under 42 U.S.C § 3617.

        D.      COUNT II MUST BE DISMISSED BECAUSE 42 U.S.C. § 3614 DOES NOT
                GIVE RISE TO AN INDEPENDENT CAUSE OF ACTION.

        Count II of the Complaint must be dismissed because § 3614 is not, in and of itself, a cause

of action. Instead, Count II merely cites to the provision of the FHA that enables the United States

to bring suit on behalf of individuals who have been injured by discriminatory housing practices.

Further, even if Count II did state a cause of action, Plaintiff fails to plead sufficient facts

demonstrating Defendants were engaged in a pattern or practice of resistance to full enjoyments

of the rights provided by the FHA or that this case raises an issue of public importance.

                1. 42 U.S.C. 3614(a) is not in and of itself an Independent Cause of Action.

        The FHA provides standing for the Attorney General to bring suit on behalf of victims of

discriminatory housing pursuant to § 3614(a). See United States v. Gumbaytay, 757 F. Supp. 2d

1142, 1148 (M.D. Ala. 2010) (quoting United States v. Bob Lawrence Realty, Inc., 474 F.2d 115,

122-23 (5th Cir. 1973) (“the Attorney General ‘has standing to sue’ whenever he or she has

reasonable cause to believe that ‘(1) there is an 'individual' or a 'group' pattern or practice violative

of the Fair Housing Act or (2) whenever a group of persons has been denied rights granted by the

Act and that denial raises an issue of general public importance.’"). 42 U.S.C. § 3614(a) provides:

        [w]henever the Attorney General has reasonable cause to believe that any person
        or group of persons is engaged in a pattern or practice of resistance to the full
        enjoyment of any of the rights granted by this title, or that any group of persons has
        been denied any of the rights granted by this title and such denial raises an issue of
        general public importance, the Attorney General may commence a civil action in
        any appropriate United States district court.

        Here, Count II, which alleges a violation of § 3614(a), is not, in and of itself a cause of

action. See Compl. ¶ 94 (“. . . Defendants’ conduct . . . constitutes: (a) A pattern or practice of


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resistance to the full enjoyment of rights granted by the [FHA] . . . in violation of 42 U.S.C. §

3614(a); and (b) a denial to a group of persons of rights granted by the [FHA], which raises an

issue of general public importance, in violation of 42 U.S.C. § 3614.”) (emphasis added). Rather,

§ 3614(a) provides the Attorney General standing to bring FHA claims on behalf of victims of

discriminatory housing practices. As stated in United States v. Fountain View Apartments, Inc.:

         The Government's authority to bring the claims in this case is derived from 42
         U.S.C. § 3614(a), which enables the Government to bring a civil action against "any
         person or group of persons . . . engaged in a pattern or practice of resistance to the
         full enjoyment of any of the rights granted by the [Fair Housing Act]."
         Alternatively, the Government may also bring a suit if the alleged violation "raises
         an issue of general public importance . . . ." 42 U.S.C. § 3614(a).

Fountain Views Apartments, No. 6:08-cv-00891-Orl-35DAB, 2009 U.S. Dist. LEXIS 136235, at

*5 (M.D. Fla. June 29, 2009); see also United States v. Biswas, No. 2:09-cv-683, 2010 U.S. Dist.

LEXIS 129805 (M.D. Ala. Dec. 8, 2010) (“the FHA gives the Attorney General standing to

enforce rights under the FHA against "any person or group of persons . . . engaged in a pattern or

practice of resistance to the full enjoyment of any of the rights granted" by the FHA. 42 U.S.C. §

3614(a). The Attorney General is also permitted to bring suit when a purported violation of the

FHA "raises an issue of general public importance.").

         Therefore, because Count II does not state a cause of action, it must be dismissed.

                  2. Even If an Independent § 3614(A) Claim Exists, Insufficient facts are pled
                     to show Pattern or Practice or an Issue of Public Importance.3

         “To establish a pattern or practice of discrimination, the Government must prove ‘more

than the mere occurrence of isolated ‘accidental’ or sporadic discriminatory acts[;]’ rather, it must

prove by preponderance of the evidence that discrimination is the Defendants' ‘standard operating

procedure.’” United States v. Fountain View Apts., Inc., 2009 U.S. Dist. LEXIS 136240, at * 17

(M.D. Fla. Dec. 22, 2009) (quoting Int’l Bhd. Of Teamsters v. United States, 431 U.S. 324, 336


3While Plaintiff alleges standing due to an “issue of general public importance,” Plaintiff does not specifically identify
what constitutes it claims to be an “issue of general public importance.” See Compl. ¶¶ 2, 94.

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(1977)). There is no set formula for determining whether a defendant has engaged in a pattern of

discrimination, rather “each pattern or practice turns on its own facts.” Id. (citing United States v.

West Peachtree Tenth Corp., 437 F.2d 221, 227 (5th Cir. 1971)).

        In this case, Plaintiff fails to demonstrate Defendants engaged in a pattern or practice of

resistance to full enjoyments of the rights provided by the FHA. While Plaintiff alleges deficient

legal services provided by Defendants to Complainants, the Complaint is devoid of facts showing

discrimination was ALG’s standard operating procedure, and Defendants treated all of their

Hispanic clients less favorably than non-Hispanic clients. Plaintiff’s allegations do not surpass the

threshold of “mere occurrences of isolated or accidental or sporadic discriminatory acts.” The

allegations of deficiency in legal services as to the three Complainants do not establish a “pattern

or practice of discrimination.” If Complainants were unsatisfied with the results achieved by

Defendants, the remedy was to sue for malpractice, not housing discrimination.

        Therefore, Plaintiff has not plead standing based on a pattern or practice of discrimination.

       E.      FAILURE TO ADEQUATELY PLEAD FOR INJUNCTIVE RELIEF.

       As part of its “WHEREFORE” clause, Plaintiff seeks injunctive relief preventing

Defendants from: (1) “discrimination on the basis of national origin in violation of the Fair

Housing Act;” (2) “[f]ailing or refusing to take such affirmative steps as may be necessary to

restore, as nearly as practicable, the victims of Defendants’ unlawful practices to the position the

would have been in but for the discriminatory conducts;” and (3) “[f]ailing or refusing to take such

affirmative steps as may be necessary to prevent recurrence of any discriminatory conduct in the

future, and to eliminate, to the extent practicable, the effects of their unlawful practices.”

       To the extent Plaintiff seeks a preliminary injunction, it fails to state a cause of action. A

preliminary injunction is an extraordinary remedy and should not be granted unless the movant

clearly establishes all elements for the injunction. Sofarelli, 931 F.2d at 724 (citing United States


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v. Jefferson County, 720 F.2d 1511, 1519 (11th Cir. 1983)) To obtain a preliminary injunction, a

plaintiff must plead: “(1) a substantial likelihood that he will ultimately prevail on the merits; (2)

that he will suffer irreparable injury unless the injunction issues; (3) that the threatened injury to

the movant outweighs whatever damage the proposed injunction may cause the opposing party;

and (4) that the injunction, if issued would not be adverse to the public interest.” Id. at 723-24.

        The Complaint is devoid of any allegations of a substantial likelihood of success on the

merits, or that an injunction would not be adverse to the public interest. Further, the Complaint

does not allege Plaintiff will suffer irreparable harm absent the injunction. In fact, it is not alleged

that any Complainant is represented by Defendants at this time.

        Finally, Plaintiff violates Local Rule 1.06, which states, “[i]f a pleading contains a prayer

for injunctive relief pursuant to Rule 65, Fed.R.Civ.P., the title of the pleading shall include the

words "Injunctive Relief Sought" or the equivalent.” No such designation was made here.

        Therefore, Plaintiff’s claim for injunctive relief must be dismissed.

        F.      PLAINTIFF SHOULD PLEAD A MORE DEFINITE STATEMENT

        Plaintiff should have to plead a more definite statement pursuant to Fed.R.Civ.P. 12(e).

        A “shotgun pleading” is grounds for a motion to dismiss under Rule 12(e). See Vibe Micro,

Inc. v. Shabanets, 878 F.3d 1291, 1295 (11th Cir. 2018) (citing Weiland v. Palm Beach County

Sheriff’s office, 792 F.3d 1313, 1320 (11th Cir. 2015)) (“A district court has the 'inherent authority

to control its docket and ensure the prompt resolution of lawsuits,' which includes the ability to

dismiss a complaint on shotgun pleading grounds."). The Eleventh Circuit in Weiland reiterated

its position that a defendant faced with a shotgun pleading should "move the court, pursuant

to Rule 12(e), to require the plaintiff to file a more definite statement." Citing to Anderson v.

Dist. Bd. Trs. Of Cent. Fla. Cmty. Coll., 77 F.3d 364, 366 (11th Cir. 1996) (emphasis added).




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       There are multiple forms of shotgun pleadings. See, e.g., Davis, 516 F.3d at 979-

80 (describing a complaint with "untold causes of action, all bunched together in one count" as "a

model 'shotgun' pleading"); Bickerstaff Clay Prods. Co. v. Harris Cnty., 89 F.3d 1481, 1485 n.4

(11th Cir. 1996) ("The complaint is a typical shotgun pleading a complaint that "was framed

in complete disregard of the principle that separate, discrete causes of action should be plead in

separate counts"); Novak v. Cobb Cnty. Kennestone Hosp. Auth., 74 F.3d 1173, 1175 & n.5 (11th

Cir. 1996) (a complaint that pleaded multiple causes of action in a single count is "a quintessential

'shotgun pleading’"); Cole v. United States, 846 F.2d 1290, 1293 (11th Cir. 1988) (labeling as a

shotgun pleading a complaint that set forth, in one count, "every act, [regardless of which

defendant committed the act], which, in the pleader's mind, may have had a causal relationship to

the [injury]"). We have indicated that this type of shotgun pleading likely runs afoul of Rule

10(b). See Anderson, 77 F.3d at 366 (finding that failure to "present each claim for relief in a

separate count, as required by Rule 10(b)," constitutes shotgun pleading). Additionally, a shotgun

pleading is “a complaint containing multiple counts where each count adopts the allegations of all

preceding counts, causing each successive count to carry all that came before and the last count to

be a combination of the entire complaint ...”. Weiland, 792 F.3d at 1322-23.

       Here, Plaintiff improperly engages in shotgun pleading. Count I combines four separate

and distinct causes of action: (1) 42 U.S.C. § 3604(a) (discrimination in sale or rental of residential

real property); (2) 42 U.S.C. § 3604(b) (discrimination in the provision of services); (3) 42 U.S.C.

§ 3605 (discrimination by a person or entity engaged in residential real estate related transactions);

and (4) 42 U.S.C. § 3617 (retaliation under the FHA). See Compl. at ¶ 90. Additionally, in Count

II, improperly realleges all of the paragraphs contained in Count I. See Compl. ¶ 93 (“Plaintiff re-

alleges and herein incorporates by reference the allegations set forth above.”). This type of




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pleading violates Rule 10, which requires that, “each claim founded on a separate transaction or

occurrence—and each defense other than a denial—must be stated in a separate count or defense.”

        For these reasons, Plaintiff should be required to plead a more definite statement.

                                          CONCLUSION

        For the reasons set forth herein, the Complaint should be dismissed for failing to state a

cause of action. In the alternative, Plaintiff should be required to plead a more definite statement.

        WHEREFORE, Defendants ADVOCATE LAW GROUPS OF FLORIDA, P.A, JON

LINDEMAN, JR., and EPHIGENIA K. LINDEMAN request this Court enter an Order: (1)

dismissing the Complaint for failure to state a claim pursuant to Fed. R. of Civ. Pro. 12(b)(6); (2)

in the alternative, requiring Plaintiff to plead a more definite statement; and (3) granting any further

relief this Court deems equitable and just.

                                                        Respectfully Submitted,

                                                        /s/ Joshua M. Entin, Esquire
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 28, 2018, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

is being served this day on all counsel of record or pro se parties identified on the attached Service

List in the manner specified, either via transmission of Notices of Electronic Filing generated by

CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

to receive electronically Notices of Electronic Filing.

                                                              /s/Joshua M. Entin, Esquire




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                   CASE NUMBER: 6:18-CV-1836-ORL-28 GJK

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